 Case 1:14-cv-11856-TLL-PTM ECF No. 9 filed 07/21/14                    PageID.41       Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   NORTHERN DIVISION

LELAND FOSTER,                                     :
                                                   :
                Plaintiff,                         :   Case No. 1:14-cv-11856
v.                                                 :
                                                   :
J.C. PENNEY CORPORATION, INC.,                     :   Honorable Thomas L. Ludington
                                                   :
            Defendant.                             :
________________________________/                  :
                                                   :

                STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter having come before the Court on the Stipulation of the parties; the parties

having entered into a Settlement Agreement and Release dated June 23 , 2014          ( the

“Settlement Agreement”), and the Court being otherwise fully advised in the premises;

       IT IS HEREBY ORDERED as follows:

       1. This action shall be, and hereby is, dismissed with prejudice and without costs or

       attorney fees to any party except as provided in the Settlement Agreement.

       2. The Court retains jurisdiction over this matter to enforce the terms

       Settlement Agreement.

The parties to this action, by their respective attorneys, hereby stipulate to entry of the

above Order.

Signatures:

Counsel for Plaintiff:

\s\ Owen B Dunn Jr        _
Owen B. Dunn, Jr., Esq. (P66315)
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 Case 1:14-cv-11856-TLL-PTM ECF No. 9 filed 07/21/14                           PageID.42   Page 2 of 2



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Counsel for Defendant:

/s/ Diana Catherine Kays
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Facsimile: (972) 431-1133

       It is so ORDERED. This is a final order closing the case.

Dated: July 21, 2014                                                s/Thomas L. Ludington
                                                                    THOMAS L. LUDINGTON
                                                                    United States District Judge

                                          PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing
                         order was served upon each attorney or party of record
                         herein by electronic means or first class U.S. mail on July
                         21, 2014.
                                                    s/Tracy A. Jacobs
                                                    TRACY A. JACOBS
